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EXHIBIT B

ATTORNEY/PARALEGAL BILLING SUMMARY BY MONTH

(July 1, 2007 - July 31, 2007}
Investigation - Interviews & Document Review (0004)

Attorneys
Michael Shepard 750 0.40 300.00
Megan Dixon 580 2.60 1,508.00
Michael Liftik 505 6.30 3,181.50
Paralegals
Amy Barth 180 2.30 414.00
Total 11.60 5,403.50
Reporting - Memoranda & Presentations (0005)
Attorneys
Michael Shepard 750 17.80 13,350.00
Megan Dixon 580 9.20 5,336.00
Michael Liftik 505 25.40 12,827.00
Paralegais
Amy Barth 180 12.40 2,232.00
Total 64.80 33,745.00
Audit Committee Meetings - Preparation & Communication (0006)
Attorneys
Neal Brockmeyer 635 2.20 1,397.00
Megan Dixon 580 0.20 116.00
Paralegals
Amy Barth 180 2.40 432.00
Total 4.80 1,945.00
Retention and Fee Applications (Heller Ehrman) (0007)
Attorneys
Michael Shepard 750 22.60 16,950.00
Peter Benvenutti 695 65.20 45,314.00
Neal Brockmeyer 635 5.00 3,175.00
Megan Dixon 580 6.10 3,038.00
Michael Liftik 505 7.10 3,985.50
Michaeline Correa 485 46,80 22,698.00
Total 152.80 95,260.50
Grand Total 234.00 136,354.00

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